Case: 4:20-cv-00626-SNLJ Doc. #: 127 Filed: 07/11/23 Page: 1 of 1 PageID #: 4105




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF MISSOURI
                             EASTERN DIVISION

Weimin Shen,                               :
                                           :    Case No. 4:20-cv-00626
              Plaintiff,                   :
                                           :    Hon. Stephen N. Limbaugh, Jr.
vs.                                        :
                                           :
Automobile Club of Missouri,               :
Inc.,                                      :
                                           :
              Defendant.


                            NOTICE OF APPEARANCE

      Notice is hereby given that Edward A. Khatskin, of The Durst Law Firm, hereby

enters his appearance as counsel for Plaintiff Weimin Shen.

                                         Respectfully submitted,
                                         /s/ Edward Khatskin________________
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